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8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11    KERRY O’SHEA,                                       Case No.: 14cv894-L-RBB
12                                       Plaintiff,
                                                          ORDER:
13    v.                                                   (1) ON JOINT MOTION TO
                                                          SUBSTITUTE PARTY [ECF No. 163]
14    AMERICAN SOLAR SOLUTION, INC.,
                                                          and
15                                    Defendant.
                                                          (2) RE JOINT STATUS REPORT [ECF
16
                                                          NO. 164].
17
18         Pending before the Court is a certified class action alleging violation of the
19   Telephone Consumer Protection Act, 47 U.S.C. § 277. After class certification, the
20   parties moved for a preliminary approval of class action settlement, which motion was
21   denied without prejudice on June 12, 2019. (ECF Nos. 88 and 161, respectively.) The
22   Court’s docket reflects no activity since that date. On January 14, 2021, the Court issued
23   an Order to Show Cause requiring the parties to file a joint status report no later than
24   January 29, 2021. On January 29, 2021, the parties filed a Joint Motion to Substitute
25   Party pursuant to Rule 25 of the Federal Rules of Civil Procedure, and a Joint Status
26   Report.
27         The parties state that Plaintiff and class representative, Kerry O’Shea, passed away
28   intestate on August 11, 2019. The parties’ request that Sharlene O’Shea be substituted for

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1    her deceased husband in this action because she is the sole beneficiary of her husband’s
2    estate and the legal successor in interest to her husband’s claims in this action. Although
3    the parties note that a substituted party steps into the same position as the original party,
4    it is unclear whether they are also requesting that Sharlene O’Shea be named class
5    representative. If the parties seek to have Sharlene O’Shea replace her deceased husband,
6    Kerry O’Shea, as class representative, they must make a showing that she qualifies under
7    Rule 23.
8           The Parties are also requesting sixty days from January 29, 2021, to finalize a
9    settlement to submit to the Court for preliminary approval. This action was stagnant for
10   approximately one and a half years with no activity. Other than stating that new in-house
11   counsel would be substituting in, the parties do not explain the delay in prosecuting the
12   action. The Parties have not provided sufficient support for their request for an additional
13   sixty days.
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1          For the foregoing reasons, it is ORDERED as follows:
2          1.     The Joint Motion to Substitute Sharlene O’Shea for Her Late Spouse and
3    Class Representative Kerry O’Shea (doc. no. 163) is granted insofar as Sharlene O’Shea
4    may substitute into this case as the plaintiff. The joint motion is denied in all other
5    respects.
6          2.     The parties’ request in the Joint Status Report (doc. no. 164) for a 60-day
7    period to finalize their amended settlement agreement is granted in part. No later than
8    March 22, 2021, the parties shall file either a motion for preliminary approval of class
9    action settlement or a notice stating that they are unable to finalize the settlement. If the
10   parties choose to file a motion for preliminary settlement approval, they must make a
11   showing pursuant to Federal Rule of Civil Procedure 23(a) that Sharlene O’Shea meets
12   the requirements to represent the class. Failure to timely comply with this order will
13   result in dismissal without prejudice.
14         IT IS SO ORDERED.
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16   Dated: February 4, 2021
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